                                                                                         Case 2:15-md-02641-DGC Document 10895 Filed 04/24/18 Page 1 of 6



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                                                                                    14                     IN THE UNITED STATES DISTRICT COURT
                                               L.L.P.




                                                                                    15                           FOR THE DISTRICT OF ARIZONA
                                                                                    16   IN RE: Bard IVC Filters Products Liability      No. 2:15-MD-02641-DGC
                                                                                    17   Litigation,
                                                                                                                                         DEFENDANTS’ RESPONSE IN
                                                                                    18                                                   OPPOSITION TO PLAINTIFF’S
                                                                                                                                         MOTION IN LIMINE NO. 6 TO
                                                                                    19                                                   EXCLUDE EVIDENCE THAT
                                                                                                                                         PLAINTIFF’S EXPERTS WERE
                                                                                    20                                                   HIRED BY HER LAWYERS IN
                                                                                                                                         OTHER LITIGATION
                                                                                    21
                                                                                         DORIS JONES and ALFRED JONES, a                 (Assigned to the Honorable David G.
                                                                                    22   married couple,                                 Campbell)

                                                                                    23                      Plaintiffs,
                                                                                    24   v.
                                                                                    25   C. R. BARD, INC., a New Jersey
                                                                                         corporation and BARD PERIPHERAL
                                                                                    26   VASCULAR, INC., an Arizona
                                                                                         corporation,
                                                                                    27
                                                                                                            Defendants.
                                                                                    28
                                                                                         Case 2:15-md-02641-DGC Document 10895 Filed 04/24/18 Page 2 of 6



                                                                                     1            Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc. (collectively
                                                                                     2   “Bard”) submit this response in opposition to Plaintiff’s Motion in Limine No. 6 which
                                                                                     3   seeks to exclude evidence that Plaintiff’s experts have been hired by her attorneys in other
                                                                                     4   cases.1 Specifically, Bard requests this Court deny the Plaintiff’s Motion on the grounds
                                                                                     5   that the evidence sought to be excluded is relevant and admissible to show witness bias
                                                                                     6   and Plaintiff has offered no valid legal argument for exclusion.
                                                                                     7       Plaintiff’s Motion seeks to exclude relevant, admissible evidence of witness bias and
                                                                                                                          should, therefore, be denied.
                                                                                     8
                                                                                     9            “Federal courts have adopted a liberal attitude toward the admission of evidence,
                                                                                    10   otherwise irrelevant and prejudicial, to show bias on the part of a witness.” Plough v.
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                                                                                    11   Baltimore & O.R. Co., 164 F.2d 254, 255 (2d Cir. 1947). Indeed, the Supreme Court has
                                                                                    12   “recognized that the exposure of a witness' motivation in testifying is a proper and
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                                                                                    13   important function of the constitutionally protected right of cross-examination.” Davis v.
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                                                                                    14   Alaska, 415 U.S. 308, 316–17, 94 S. Ct. 1105, 1110, 39 L. Ed. 2d 347 (1974); see also
                                               L.L.P.




                                                                                    15   United States v. Abel, 469 U.S. 45, 52, 105 S. Ct. 465, 469, 83 L. Ed. 2d 450 (1984)
                                                                                    16   (“Proof of bias is almost always relevant”).
                                                                                    17            Courts which have addressed this issue generally admit evidence concerning an
                                                                                    18   expert witness’ relationship with the attorney who hired the expert – including whether
                                                                                    19   the expert has testified for the same attorney in other cases. See Shaheen v. Advantage
                                                                                    20   Moving & Storage, Inc., 369 Ill. App. 3d 535, 543-44, 860 N.E.2d 375, 383 (2006)
                                                                                    21   (“Courts generally admit evidence that an expert … testified for the same attorney in other
                                                                                    22   cases.”); Goldberg v. Boone, 396 Md. 94, 117, 912 A.2d 698, 711 (2006) (holding that
                                                                                    23   “whether the witness is frequently employed by a particular party or attorney … [is]
                                                                                    24
                                                                                         1
                                                                                           Plaintiff’s motion concedes that expert witnesses may be cross-examined regarding
                                                                                    25   testimony or opinions offered in other litigation – including the Cook IVC filter litigation
                                                                                         – and, thus, Bard’s response does not address that issue. See Plaintiff’s MIL No. 6, Doc.
                                                                                    26   No. 10818, at 3:3-7 (“To be clear, Plaintiff is not seeking to exclude questioning or
                                                                                         argument directed at Dr. McMeeking’s or any other of Plaintiff’s experts’ testimony or
                                                                                    27   opinions in any other litigation, including the Cook IVC filter litigation. Such inquiries
                                                                                         are fair game to explore bias or undermine the expert’s opinions, and Plaintiff will seek to
                                                                                    28   do the same with Bard’s witnesses.”).

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                                                                        Case 2:15-md-02641-DGC Document 10895 Filed 04/24/18 Page 3 of 6



                                                                    1   appropriate … to expose an expert witness’s bias” and admitting evidence that expert had
                                                                    2   testified in about 25 other cases for plaintiff’s attorney); Sears v. Rutishauser, 102 Ill. 2d
                                                                    3   402, 411, 466 N.E.2d 210, 214 (1984) (recognizing that “a majority of jurisdictions that
                                                                    4   have considered this issue have ruled that a medical may be cross-examined concerning
                                                                    5   the number and frequency of referrals from an attorney.”); Smith v. Transducer
                                                                    6   Technolgy, Inc., No. CIV. 1995/28, 2000 WL 1717334, at *2 (D.V.I. Nov. 16, 2000) (fact
                                                                    7   that expert witnesses often testify in cases for plaintiff’s attorney relevant to consideration
                                                                    8   of witnesses’ bias); Campos v. MTD Prod., Inc., No. 2:07-0029, 2009 WL 920337, at *4
                                                                    9   (M.D. Tenn. Apr. 1, 2009) (recognizing relevance of evidence that witness provided
                                                                   10   “expert services performed on behalf of the defendant and defendant's counsel in other
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                                                                   11   cases.”); Bello v. Horace Mann Companies, No. CV 07-4793, 2010 WL 11541596, at *2–
                                                                   12   3 (E.D. La. Mar. 11, 2010) (“…the financial relationship between a party and an expert
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                                                                   13   witness is relevant to show bias.”).
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                                                                   14          Here, Plaintiff seeks to exclude evidence of Dr. Robert McMeeking’s sworn
                                               L.L.P.




                                                                   15   testimony that he was “retained in [the Cook IVC] litigation by some of the same
                                                                   16   attorneys that retained [him] in this litigation[.]” (Plaintiff’s MIL No. 6, Doc. No. 10818,
                                                                   17   at 2:1-3). Evidence that any of Plaintiff’s experts have been retained by her attorneys in
                                                                   18   other cases, however, is exactly the type of evidence courts have held to be relevant and
                                                                   19   admissible to show witness bias. See Shaheen, 369 Ill. App. 3d at 543-44, 860 N.E.2d at
                                                                   20   383 (“Courts generally admit evidence that an expert … testified for the same attorney in
                                                                   21   other cases.”).   Moreover, Plaintiff seems to concede this point in her own motion
                                                                   22   acknowledging the admissibility of evidence regarding the frequency with which
                                                                   23   Plaintiff’s experts have worked with her attorneys.2
                                                                   24
                                                                   25
                                                                   26
                                                                   27   2
                                                                         “Nor it is improper to ask … experts like Plaintiff’s damages expert Lora White how
                                                                        many times they have worked for Plaintiff’s attorneys’ law firm, Gallagher & Kennedy.”
                                                                   28   (Plaintiff’s MIL No. 6, Doc. No. 10818, at 3:7-9).

                                                                                                                     -2-
                                                                        Case 2:15-md-02641-DGC Document 10895 Filed 04/24/18 Page 4 of 6



                                                                    1          In fact, aside from her conjecture that Bard intends to cast this case as “lawyer-
                                                                    2   driven” 3 , the only argument Plaintiff makes for excluding the disputed portion of Dr.
                                                                    3   McMeeking’s testimony is its alleged inaccuracy.4 Yet, Plaintiff has not submitted any
                                                                    4   evidence – other than her bare assertion – that Dr. McMeeking’s testimony is inaccurate.
                                                                    5   Furthermore, her argument conflates her attorneys’ retention of Dr. McMeeking in other
                                                                    6   cases with their alleged lack of involvement in preparing Dr. McMeeking for his
                                                                    7   testimony in the Cook IVC cases. The question posed to Dr. McMeeking asked if he was
                                                                    8   “retained in [the Cook IVC] litigation by some of the same attorneys that retained [him]
                                                                    9   in this litigation?” (Plaintiff’s MIL No. 6, Doc. No. 10818, at 2:1-3) (emphasis added).
                                                                   10   Dr. McMeeking’s affirmative answer is accurate because Plaintiff’s attorneys in this case
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                                                                   11   are heavily involved in the Cook IVC filter litigation – Mr. Ramon Lopez is on the
                                                                   12   Plaintiffs’ Executive Committee for the Cook MDL and Mr. Paul Stoller (of Gallagher &
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                                                                   13   Kennedy) is on the Plaintiffs’ Steering Committee for the Cook MDL. Even if, arguendo,
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                                                                   14   Dr. McMeeking’s testimony is mistaken, however, slight factual inaccuracies in an
                                               L.L.P.




                                                                   15   expert’s testimony are proper subjects for cross-examination – not grounds for exclusion.
                                                                   16   See Nisus Corp. v. Perma-Chink Sys., Inc., No. 3:03-CV-120, 2005 WL 6112992, at *7
                                                                   17   (E.D. Tenn. May 27, 2005) (holding that factual inaccuracies in expert’s report were
                                                                   18   “proper subjects for cross-examination” but did not warrant exclusion of expert’s
                                                                   19   testimony). Finally, whether some of Plaintiff’s attorneys retained Dr. McMeeking in the
                                                                   20   Cook IVC litigation is a simple concept which will not require, as Plaintiff suggests, a
                                                                   21   mini-seminar for the jury on multi-district litigation.
                                                                   22                                         CONCLUSION
                                                                   23          For these reasons, Bard respectfully requests that this Court deny the Plaintiff’s
                                                                   24   Motion in Limine No. 6.
                                                                   25
                                                                        3
                                                                   26     This argument is discussed in more detail in Bard’s Response in Opposition to Plaintiff’s
                                                                        Motion in Limine No. 7.
                                                                   27   4
                                                                          “Despite Dr. McMeeking’s answer in the affirmative, in fact none of Mrs. Jones’
                                                                        attorneys were involved in preparing Dr. McMeeking for his testimony in the Cook
                                                                   28   bellwether trial.” (Plaintiff’s MIL No. 6, Doc. No. 10818, at 2:6-8).

                                                                                                                     -3-
                                                                        Case 2:15-md-02641-DGC Document 10895 Filed 04/24/18 Page 5 of 6



                                                                    1            RESPECTFULLY SUBMITTED this 24th day of April, 2018.
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                                                                                     1                                CERTIFICATE OF SERVICE
                                                                                     2          I hereby certify that on this 24th day of April, 2018, the foregoing was
                                                                                     3   electronically filed with the Clerk of Court using the CM/ECF system which will
                                                                                     4   automatically send email notification of such filing to all attorneys of record.
                                                                                     5
                                                                                                                                            s/ Richard B. North, Jr.
                                                                                     6                                                      Richard B. North, Jr.
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                                               L.L.P.




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